                     Case 2:24-cv-02787-WBS-SCR    Document 34 Filed 10/10/24 Page 1 of 5
                                       ACCO,(DTBx),CLOSED,DISCOVERY,MANADR,STAYED,TRANSFERRED
                          UNITED STATES DISTRICT COURT
            CENTRAL DISTRICT OF CALIFORNIA (Western Division − Los Angeles)
                 CIVIL DOCKET FOR CASE #: 2:24−cv−08377−FMO−DTB

The Babylon Bee, LLC et al v. Feldstein Soto et al                 Date Filed: 09/30/2024
Assigned to: Judge Fernando M. Olguin                              Date Terminated: 10/09/2024
Referred to: Magistrate Judge David T. Bristow                     Jury Demand: None
Cause: 42:1983 Civil Rights Act                                    Nature of Suit: 440 Civil Rights: Other
                                                                   Jurisdiction: Federal Question
Plaintiff
The Babylon Bee, LLC                                 represented by David A Shaneyfelt
                                                                    Alvarez Firm ALC
                                                                    24005 Ventura Boulevard
                                                                    Calabasas, CA 91302
                                                                    818−224−7077
                                                                    Fax: 818−224−1380
                                                                    Email: dshaneyfelt@alvarezfirm.com
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

Plaintiff
Kelly Chang Rickert                                  represented by David A Shaneyfelt
                                                                    (See above for address)
                                                                    ATTORNEY TO BE NOTICED


V.
Defendant
Rob Bonta                                            represented by Kristin A. Liska
in his official capacity as Attorney General of                     CAAG − Office of the Attorney General
the State of California                                             455 Golden Gate Avenue Suite 11000
                                                                    San Francisco, CA 94102
                                                                    415−510−3916
                                                                    Fax: 415−703−1234
                                                                    Email: Kristin.Liska@doj.ca.gov
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

Defendant
Shirley N. Weber                                     represented by Kristin A. Liska
in her official capacity as California Secretary                    (See above for address)
of State                                                            LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

Defendant
George Gascon
in his official capacity as District Attorney for
Los Angeles County
               Case 2:24-cv-02787-WBS-SCR Document 34 Filed 10/10/24 Page 2 of 5
TERMINATED: 10/04/2024

Defendant
Hydee Soto
in her official capacity as the Los Angeles City
Attorney
TERMINATED: 10/04/2024


 Date Filed         #    Docket Text

 09/30/2024        Ï1    COMPLAINT Receipt No: ACACDC−38302956 − Fee: $405, filed by Plaintiff Kelly Chang
                         Rickert, The Babylon Bee, LLC. (Attachments: # 1 Exhibit Index, # 2 Exhibit 1, # 3 Exhibit 2, # 4
                         Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, #
                         11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12) (Attorney David A Shaneyfelt added to party The
                         Babylon Bee, LLC(pty:pla), Attorney David A Shaneyfelt added to party Kelly Chang
                         Rickert(pty:pla))(Shaneyfelt, David) (Entered: 09/30/2024)

 09/30/2024        Ï2    CIVIL COVER SHEET filed by Plaintiffs The Babylon Bee, LLC, Kelly Chang Rickert.
                         (Shaneyfelt, David) (Entered: 09/30/2024)

 09/30/2024        Ï3    NOTICE of Interested Parties filed by Plaintiff The Babylon Bee, LLC, Kelly Chang Rickert,
                         (Shaneyfelt, David) (Entered: 09/30/2024)

 09/30/2024        Ï4    Request for Clerk to Issue Summons on Complaint (Attorney Civil Case Opening),, 1 filed by
                         Plaintiff The Babylon Bee, LLC, Kelly Chang Rickert. (Attachments: # 1 Summons − S. Weber, #
                         2 Summons − G. Gascon, # 3 Summons − H. Soto)(Shaneyfelt, David) (Entered: 09/30/2024)

 10/01/2024        Ï5    NOTICE OF ASSIGNMENT to District Judge Fernando M. Olguin and Magistrate Judge David T.
                         Bristow. (ghap) (Entered: 10/01/2024)

 10/01/2024        Ï6    NOTICE TO PARTIES OF COURT−DIRECTED ADR PROGRAM filed. (ghap) (Entered:
                         10/01/2024)

 10/01/2024        Ï7    Notice to Counsel Re Consent to Proceed Before a United States Magistrate Judge. (ghap)
                         (Entered: 10/01/2024)

 10/01/2024        Ï8    (Court only) GENERIC COURT ONLY: Case assigned from districtwide case assignment deck for
                         cases seeking nationwide or statewide relief. THERE IS NO PDF DOCUMENT ASSOCIATED
                         WITH THIS ENTRY. (ghap) (Entered: 10/01/2024)

 10/01/2024        Ï9    21 DAY Summons Issued re Complaint (Attorney Civil Case Opening), 1 as to Defendants Rob
                         Bonta, George Gascon, Hydee Soto, Shirley N. Weber. (Attachments: # 1 Summons for Shirley N.
                         Weber, # 2 Summons for George Gascon, # 3 Summons for Hydee Soto) (ghap) (Entered:
                         10/01/2024)

 10/01/2024       Ï 10   NOTICE OF PRO HAC VICE APPLICATION DUE for Non−Resident Attorney Jonathan A
                         Scruggs on behalf of Plaintiffs. A document recently filed in this case lists you as an out−of−state
                         attorney of record. However, the Court has not been able to locate any record that you are admitted
                         to the Bar of this Court, and you have not filed an application to appear Pro Hac Vice in this case.
                         Accordingly, within 5 business days of the date of this notice, you must either (1) have your local
                         counsel file an application to appear Pro Hac Vice (Form G−64) and pay the applicable fee, or (2)
                         complete the next section of this form and return it to the court at
                         cacd_attyadm@cacd.uscourts.gov. You have been removed as counsel of record from the docket in
                         this case, and you will not be added back to the docket until your Pro Hac Vice status has been
                         resolved. (ghap) (Entered: 10/01/2024)
10/01/2024   Ï 11Case  2:24-cv-02787-WBS-SCR
                   NOTICE     OF PRO HAC VICE APPLICATIONDocumentDUE  34 forFiled  10/10/24 Attorney
                                                                               Non−Resident      Page 3Bryan
                                                                                                          of 5 D Neihart
                   on behalf of Plaintiffs. A document recently filed in this case lists you as an out−of−state attorney
                   of record. However, the Court has not been able to locate any record that you are admitted to the
                   Bar of this Court, and you have not filed an application to appear Pro Hac Vice in this case.
                   Accordingly, within 5 business days of the date of this notice, you must either (1) have your local
                   counsel file an application to appear Pro Hac Vice (Form G−64) and pay the applicable fee, or (2)
                   complete the next section of this form and return it to the court at
                   cacd_attyadm@cacd.uscourts.gov. You have been removed as counsel of record from the docket in
                   this case, and you will not be added back to the docket until your Pro Hac Vice status has been
                   resolved. (ghap) (Entered: 10/01/2024)

10/01/2024   Ï 12   APPLICATION for Temporary Restraining Order as to Plaintiffs' Application for TRO or
                    Alternative Motion for Expedited Preliminary Injunction filed by Plaintiffs The Babylon Bee, LLC,
                    Kelly Chang Rickert. Application set for hearing on 10/10/2024 at 10:00 AM before Judge
                    Fernando M. Olguin. (Attachments: # 1 Memorandum in Support of Plaintiffs' Application for
                    TRO or Alternative Motion for Expedited Preliminary Injunction, # 2 Declaration in Support of
                    Plaintiffs' Application for TRO or Alternative Motion for Expedited Preliminary Injunction, # 3
                    Proposed Order [Proposed] Order Granting Plaintiffs' Application for TRO or Alternative Motion
                    for Expedited Preliminary Injunction) (Shaneyfelt, David) (Entered: 10/01/2024)

10/01/2024   Ï 13   RESPONSE filed by Pro Hac Vice attorney Jonathan Scruggs David A Shaneyfelt on behalf of
                    Plaintiffs Kelly Chang Rickert, The Babylon Bee, LLC. RE: for Jonathan Scruggs. (Attachments: #
                    1 Proposed Order to Application of Non−Resident Attorney to Appear in a Specific
                    Case)(Shaneyfelt, David) (Entered: 10/01/2024)

10/01/2024     Ï    PHV FEE PAID for Non−Resident Attorney Jonathan A. Scruggs Application to Appear Pro Hac
                    Vice. Receipt No. ACACDC−38321476 for $500 pro hac vice fee. (Shaneyfelt, David) (Entered:
                    10/01/2024)

10/01/2024   Ï 14   RESPONSE filed by Pro Hac Vice attorney Bryan Neihart David A Shaneyfelt on behalf of
                    Plaintiffs Kelly Chang Rickert, The Babylon Bee, LLC. RE: for Bryan Neihart. (Attachments: # 1
                    Proposed Order to Application of Non−Resident Attorney to Appear in a Specific
                    Case)(Shaneyfelt, David) (Entered: 10/01/2024)

10/01/2024     Ï    PHV FEE PAID for Non−Resident Attorney Bryan D. Neihart Application to Appear Pro Hac
                    Vice. Receipt No. ACACDC−38321487 for $500 pro hac vice fee. (Shaneyfelt, David) (Entered:
                    10/01/2024)

10/02/2024   Ï 15   MINUTES (IN CHAMBERS) ORDER RE: BRIEFING RE: STAY OF PROCEEDINGS 12 by
                    Judge Fernando M. Olguin. *See Order for Details.* (rolm) (Entered: 10/02/2024)

10/03/2024   Ï 16   TEXT ONLY ENTRY by Chambers of Judge Fernando M. Olguin. This matter has been assigned
                    to District Judge Fernando M. Olguin. The Court refers counsel to the Court's Initial Standing
                    Order found on the Court's Website under Judge Olguin's Procedures and Schedules. Please read
                    this Order carefully. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY.
                    (vdr) TEXT ONLY ENTRY (Entered: 10/03/2024)

10/03/2024   Ï 17   TEXT ONLY ENTRY by Chambers of Judge Fernando M. Olguin. Pursuant to the Minute Order
                    15 , the hearing on the TRO for 10/10/2024 is hereby vacated pending the ordered briefing. THERE
                    IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (vdr) TEXT ONLY ENTRY
                    (Entered: 10/03/2024)

10/03/2024   Ï 18   Notice of Appearance or Withdrawal of Counsel: for attorney Kristin A. Liska counsel for
                    Defendants Rob Bonta, Shirley N. Weber. Adding Kristin A. Liska as counsel of record for
                    Defendants Rob Bonta and Shirley N. Weber for the reason indicated in the G−123 Notice. Filed by
                    Defendants Rob Bonta and Shirley N. Weber. (Attorney Kristin A. Liska added to party Rob
                    Bonta(pty:dft), Attorney Kristin A. Liska added to party Shirley N. Weber(pty:dft))(Liska, Kristin)
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                 (Entered: 10/03/2024)    Document 34 Filed 10/10/24 Page 4 of 5

10/03/2024   Ï 19   NOTICE TO FILER OF DEFICIENCIES in Electronic Filed Document RE: Response to Notice of
                    Fee Due on Pro Hac Vice Application, 13 , Response to Notice of Fee Due on Pro Hac Vice
                    Application, 14 . The following error(s) was/were found: Incorrect event selected. Correct event to
                    be used is: Applications/Ex Parte Applications/Motions/Petitions/Requests − Appear Pro Hac Vice
                    (G−64).. In response to this notice, the Court may: (1) order an amended or correct document to be
                    filed; (2) order the document stricken; or (3) take other action as the Court deems appropriate. You
                    need not take any action in response to this notice unless and until the Court directs you to do so.
                    (ak) (Entered: 10/03/2024)

10/04/2024   Ï 20   NOTICE OF DISMISSAL filed by Plaintiffs Kelly Chang Rickert, The Babylon Bee, LLC
                    pursuant to FRCP 41a(1) as to George Gascon, Hydee Soto. (Shaneyfelt, David) (Entered:
                    10/04/2024)

10/04/2024   Ï 21   *STRICKEN* NOTICE OF MOTION AND MOTION for Reconsideration re Staying Case 15 and
                    Brief in Opposition to Stay Order, and in the Alternative, Motion to Transfer Venue filed by
                    Plaintiffs The Babylon Bee, LLC, Kelly Chang Rickert. (Attachments: # 1 Declaration of Bryan
                    Neihart, # 2 Exhibit 1 to Declaration of B. Neihart, # 3 Proposed Order) (Shaneyfelt, David)
                    Modified on 10/8/2024 (vdr). (Entered: 10/04/2024)

10/04/2024   Ï 22   *STRICKEN* NOTICE OF MOTION AND MOTION to Expedite Briefing of Plaintiffs Combined
                    Motion for Reconsideration of Stay Order and Brief in Opposition to Stay Order, and in the
                    Alternative, Motion to Transfer Venue filed by Plaintiffs The Babylon Bee, LLC, Kelly Chang
                    Rickert. (Attachments: # 1 Proposed Order) (Shaneyfelt, David) Modified on 10/8/2024 (vdr).
                    (Entered: 10/04/2024)

10/04/2024   Ï 23   PROOF OF SERVICE Executed by Plaintiff Kelly Chang Rickert, The Babylon Bee, LLC, upon
                    Defendant Shirley N. Weber served on 10/2/2024, answer due 10/23/2024. Service of the Summons
                    and Complaint were executed upon Kanji Montalvo − Authorized Agent/Deputy for Shirley N.
                    Weber in compliance with Federal Rules of Civil Procedure by personal service (Shaneyfelt,
                    David) (Entered: 10/04/2024)

10/04/2024   Ï 24   PROOF OF SERVICE Executed by Plaintiff Kelly Chang Rickert, The Babylon Bee, LLC, upon
                    Defendant Rob Bonta served on 10/2/2024, answer due 10/23/2024. Service of the Summons and
                    Complaint were executed upon Sheriff S. Lee − Authorized agent for Rob Bonta in compliance
                    with Federal Rules of Civil Procedure by personal service (Shaneyfelt, David) (Entered:
                    10/04/2024)

10/07/2024   Ï 25   *STRICKEN* NOTICE OF MOTION AND MOTION to Waive Oral Argument on Plaintiffs'
                    Motions filed by Plaintiff The Babylon Bee, LLC, Kelly Chang Rickert. Motion set for hearing on
                    10/10/2024 at 10:00 AM before Judge Fernando M. Olguin. (Attachments: # 1 Proposed Order)
                    (Shaneyfelt, David) Modified on 10/8/2024 (vdr). (Entered: 10/07/2024)

10/08/2024   Ï 26   NOTICE TO FILER OF DEFICIENCIES in Electronic Filed Document RE: Motions 21 , 22 , 25 .
                    The following error(s) was/were found: Hearing information is missing, incorrect, or untimely. In
                    response to this notice, the Court may: (1) order an amended or correct document to be filed; (2)
                    order the document stricken; or (3) take other action as the Court deems appropriate. (iv) (Entered:
                    10/08/2024)

10/08/2024   Ï 27   ORDER STRIKING by Judge Fernando M. Olguin Re: Motions 21 and 22 . The following
                    document(s) be STRICKEN for failure to comply with the Local Rules, General Order and/or the
                    Courts Case Management Order for the following reason(s): (1) Hearing information is not timely.
                    See Local Rule 6−1. The notice of motion shall be filed with the Clerk not later than twenty−eight
                    (28) days before the date set for hearing (vdr) (Entered: 10/08/2024)

10/08/2024   Ï 28
               Case 2:24-cv-02787-WBS-SCR
                 APPLICATION                    Document
                               of Non−Resident Attorney      34 Widmalm−Delphonse
                                                        Johannes Filed 10/10/24 Page   5 of 5Pro Hac
                                                                                  to Appear
                    Vice on behalf of Plaintiffs The Babylon Bee, LLC, Kelly Chang Rickert (Pro Hac Vice Fee − $500
                    Fee Paid, Receipt No. ACACDC−38363189) filed by Plaintiffs The Babylon Bee, LLC, Kelly
                    Chang Rickert. (Attachments: # 1 Proposed Order to Application of Non−Resident Attorney to
                    Appear in a Specific Case) (Shaneyfelt, David) (Entered: 10/08/2024)

10/08/2024   Ï 29   RESPONSE filed by Plaintiffs The Babylon Bee, LLC, Kelly Chang Rickertto Staying Case 15
                    (Attachments: # 1 Declaration of Bryan Neihart, # 2 Exhibit 1 to Declaration of B.
                    Neihart)(Shaneyfelt, David) (Entered: 10/08/2024)

10/08/2024   Ï 30   NOTICE OF MOTION AND MOTION to Transfer Case to Eastern District of California,
                    Sacramento Division filed by Plaintiffs The Babylon Bee, LLC, Kelly Chang Rickert. Motion set
                    for hearing on 11/7/2024 at 10:00 AM before Judge Fernando M. Olguin. (Attachments: # 1
                    Declaration of Bryan Neihart, # 2 Proposed Order) (Shaneyfelt, David) (Entered: 10/08/2024)

10/08/2024   Ï 31   NOTICE OF MOTION AND MOTION to Expedite Decision on Motion to Transfer Venue filed
                    by Plaintiffs The Babylon Bee, LLC, Kelly Chang Rickert. Motion set for hearing on 11/7/2024 at
                    10:00 AM before Judge Fernando M. Olguin. (Attachments: # 1 Proposed Order) (Shaneyfelt,
                    David) (Entered: 10/08/2024)

10/08/2024   Ï 32   ORDER STRIKING by Judge Fernando M. Olguin Re: MOTION to Waive Oral Argument 25 .
                    The following document(s) be STRICKEN for failure to comply with the Local Rules, General
                    Order and/or the Courts Case Management Order for the following reason(s): (1) Hearing
                    information is incorrect and not timely. (vdr) (Entered: 10/08/2024)

10/09/2024   Ï 33   ORDER GRANTING PLAINTIFFS' MOTION 30 TO TRANSFER VENUE by Judge Fernando
                    M. Olguin. The Court hereby orders the clerk to TRANSFER this case to the United States District
                    Court for the Eastern District of California, Sacramento Division. MD JS−6. Case Terminated. (iv)
                    (Entered: 10/10/2024)
